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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


STATE OF NEW YORK, et al.,                                     No. 18-cv-2921

                              Plaintiffs,                      Hon. Jesse M. Furman
                                                               United States District Judge
       v.
                                                               NOTICE OF MOTION TO
UNITED STATES DEPARTMENT OF                                    WITHDRAW AS COUNSEL
COMMERCE, et al.,

                              Defendants.



       PLEASE TAKE NOTICE THAT pursuant to Local Rule 1.4, it is hereby requested that

the appearance of David Hausman be withdrawn as counsel for Plaintiffs New York Immigration

Coalition, et al. in this matter as his employment with the American Civil Liberties Union will

conclude on July 31, 2019. Plaintiffs continue to be represented by the American Civil Liberties

Union and other counsel, as indicated on the Court’s docket.

       The Undersigned counsel respectfully requests this Honorable Court enter an Order

granting the motion to withdraw.


Dated: July 31, 2019                              Respectfully submitted:

                                                  /s/ Dale E. Ho
                                                  Dale E. Ho
                                                  American Civil Liberties Union
                                                  Voting Rights Project
                                                  125 Broad Street, 18th Floor
                                                  New York, NY 10004
                                                  Tel: (212) 549-2693
                                                  Fax: (212) 549-2654
                                                  dho@aclu.org

                                                  Counsel of Record for NYIC Plaintiffs
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 31st day of July, 2019, the foregoing Notice of Motion to

Withdraw as Counsel was served on all counsel of record via ECF.



                                                    /s/ Dale E. Ho
                                                    Dale E. Ho

                                                    Counsel of Record for NYIC Plaintiffs
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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


STATE OF NEW YORK, et al.,                                  No. 18-cv-2921

                               Plaintiffs,                  Hon. Jesse M. Furman
                                                            United States District Judge
       v.
                                                            DECLARATION OF DAVID
UNITED STATES DEPARTMENT OF                                 HAUSMAN IN SUPPORT OF
COMMERCE, et al.,                                           MOTION FOR WITHDRAWAL
                                                            OF APPEARANCE
                               Defendants.



       I, David Hausman, declare under penalty of perjury that the following is true and correct:

   1. I submit this declaration in support of my motion seeking permission from the Court to

       withdraw my appearance in the above-captioned matter.

   2. I am leaving the employment of the American Civil Liberties Union Foundation, Inc.,

       and therefore, I will no longer be able to represent Plaintiffs New York Immigration

       Coalition, et al. in this matter.

   3. Other counsel of record from the American Civil Liberties Union will continue to

       represents Plaintiffs in this action.

Dated: July 31, 2019                             Respectfully submitted:

                                                 /s/ David Hausman
                                                 David Hausman
                                                 American Civil Liberties Union
                                                 Immigrants’ Rights Projects
                                                 125 Broad Street, 18th Floor
                                                 New York, NY 10004
                                                 Tel: (212) 549-2549
                                                 Fax: (212) 549-2654
                                                 dhausman@aclu.org
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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


STATE OF NEW YORK, et al.,                                    No. 18-cv-2921

                              Plaintiffs,                     Hon. Jesse M. Furman
                                                              United States District Judge
       v.
                                                              [PROPOSED] ORDER
UNITED STATES DEPARTMENT OF                                   TERMINATING APPEARANCE
COMMERCE, et al.,                                             OF DAVID HAUSMAN

                              Defendants.



       WHEREAS, the Court has reviewed the motion of David Hausman seeking leave to

withdraw as an attorney of record in this matter, as well his declaration in support thereof;

       IT IS HEREBY ORDERED THAT the appearance of David Hausman in this matter is

terminated;

       IT IS FURTHER ORDERED THAT the Clerk of Court shall remove Mr. Hausman

from the docket sheet in this matter.

       IT IS SO ORDERED.

Dated: August __, 2019
       New York, New York

                                                   HON. JESSE M. FURMAN
                                                   United States Magistrate Judge
